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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                       )
                                               )
                        Plaintiffs,            )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                        Defendant.             )



                PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

         Pursuant to Local Civil Rule 5(C), the Protective Order (ECF No. 98 and Modified

  Protective Order, ECF No. 203) and the Court’s order on an extension of time to respond to

  motions to seal exhibits, ECF No. 621, Plaintiffs, through their undersigned counsel, hereby

  respectfully move this Court to seal portions of the motion and some exhibits to their Opposition

  to Defendant Google LLC’s Motion to Exclude the Testimony of Professor Robin S. Lee. The

  redacted portions contain material Google and third parties have designated as confidential or

  highly confidential. Consistent with the local rule and this Court’s Electronic Case Filing

  Policies and Procedures, undersigned counsel have filed the materials at issue using the sealed

  filing event on CM/ECF and hereby certify that they will serve a copy on opposing counsel and

  deliver a copy to this Court in a separate container labeled “UNDER SEAL.” The grounds for

  this motion are contained in the memorandum of law concurrently filed in support of this motion.

  A proposed order is attached for the Court’s convenience.
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  Dated: May 17, 2024

  Respectfully submitted,

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